Case 24-02132      Doc 16     Filed 02/21/24 Entered 02/21/24 19:56:09            Desc Main
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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

In Re:                                        )
                                              )      No. 24-02132
Emma Sanchez,                                 )      Judge Timothy A. Barnes
                                              )
               Debtor(s).                     )      Chapter 13

                                  NOTICE OF MOTION

To: SEE ATTACHED SERVICE LIST

       PLEASE TAKE NOTICE that on March 21, 2024 at 10:30AM, I will appear before
the Honorable Timothy A. Barnes, or any judge sitting in that judge’s place, either in
Courtroom 744 of the Everett McKinley Dirksen United States Courthouse, 219 S.
Dearborn Street, Chicago, IL 60604, or electronically as described below, and present the
motion of Debtor’s Counsel to/for Compensation, a copy of which is attached.

      Important: Only parties and their counsel may appear for presentment of the
motion electronically using Zoom for Government. All others must appear in person.

       To appear by video, use this link: https://www.zoomgov.com/join. Then enter the
meeting ID and password.

       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-
828- 7666. Then enter the meeting ID and password.

        Meeting ID and passcode. The meeting ID for this hearing is: 161 329 5276 and
the passcode is 433658. The meeting ID and passcode can also be found on the judge’s page
on the court’s website.

       If you object to this motion and want it called on the presentment date above, you
must file a Notice of Objection no later than two (2) business days before that date. If a
Notice of Objection is timely filed, the motion will be called on the presentment date. If no
Notice of Objection is timely filed, the court may grant the motion in advance without calling
it.
                                                              /s/ Vaughn White
                                                              Vaughn White
                                                              VW LAW LLC
                                                              Attorney for Debtor(s)
                                                              1755 Park St, Suite 200
                                                              Naperville, IL 60563
                                                              312-888-0131
                                                              vaughn@vaughnwhite.com
                                                              ARDC # 6198291


                                              1
Case 24-02132     Doc 16     Filed 02/21/24 Entered 02/21/24 19:56:09          Desc Main
                              Document     Page 2 of 16




                              CERTIFICATE OF SERVICE

       I, Vaughn A. White, an attorney, certify that I served a copy of this notice and the
attached motion on each entity shown on the attached list at the address shown and by the
method indicated on the list on February 21, 2024.


                                            /s/ Vaughn White
                                            Vaughn White




                                            2
          Case
           Case24-02132
                24-02132 Doc
                          Doc13
                              16 Filed
                                  Filed02/18/24
                                         02/21/24 Entered
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                                Certificate
                                    Documentof Notice
                                                   PagePage   1 of 4
                                                         3 of 16
Information to identify the case:

                       Emma Judith Sanchez                                                      Social Security number or ITIN:      xxx−xx−7079
Debtor 1:
                                                                                                EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                       Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                  EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     Northern District of Illinois                                   Date case filed for chapter:            13       2/15/24

Case number:          24−02132

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                                10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                         About Debtor 2:
1. Debtor's full name                              Emma Judith Sanchez

2. All other names used in the fka Emma Judith Muralles
   last 8 years
                                                   4521 Wenonah Ave
3. Address                                         Forest View, IL 60402
                                                   Vaughn A White                                                         Contact phone 312−888−0131
                                                   Vw Law LLC                                                             Email: vaughn@vaughnwhite.com
4. Debtor's attorney
     Name and address
                                                   1755 Park St
                                                   Suite 200
                                                   Naperville, IL 60563

5. Bankruptcy trustee                              Thomas H. Hooper                                                        Contact phone 312−294−5900
     Name and address                              Office of the Chapter 13 Trustee
                                                   55 E. Monroe St.
                                                   Suite 3850
                                                   Chicago, IL 60603

6. Bankruptcy clerk's office                                                                                               Hours open:
     Documents in this case may be filed           Eastern Division                                                        8:30 a.m. until 4:30 p.m. except Saturdays,
     at this address.                              219 S Dearborn                                                          Sundays and legal holidays.
     You may inspect all records filed in          7th Floor                                                               Contact phone 1−866−222−8029
     this case at this office or online at         Chicago, IL 60604                                                       Date: 2/16/24
      https://pacer.uscourts.gov.
                                                                                                                                   For more information, see page 2




Official Form 309I                                           Notice of Chapter 13 Bankruptcy Case                                                       page 1
         Case
          Case24-02132
               24-02132 Doc
                         Doc13
                             16 Filed
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                               Certificate
                                   Documentof Notice
                                                  PagePage   2 of 4
                                                        4 of 16
Debtor Emma Judith Sanchez                                                                                                                   Case number 24−02132
7. Meeting of creditors                                                                                      Location:
    Debtors must attend the meeting to     March 19, 2024 at 01:30 PM
    be questioned under oath. In a joint                                                    Zoom video meeting. Go to
    case, both spouses must attend.
    Creditors may attend, but are not      The meeting may be continued or adjourned to a Zoom.us/join, Enter Meeting ID 647 557
    required to do so.                     later date. If so, the date will be on the court 0506, and Passcode 7038866130, OR
                                           docket.                                          call 1−872−201−1128
                                                                                                             For additional meeting information, go to
                                                                                                             www.justice.gov/ust/moc .

8. Deadlines                               Deadline to file a complaint to challenge                                 Filing deadline: 5/20/24
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                               not entitled to receive a discharge under
                                               U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                       Filing deadline: 4/25/24
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                        Filing deadline: 8/13/24
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                          Filing deadline:       30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                                conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                                 meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has filed a plan. The plan is enclosed. The hearing on confirmation will be held on:
                                           4/11/24 at 10:00 AM , Location: Courtroom 619, 219 S. Dearborn St, Chicago, IL 60604 or Using Zoom. To
                                           appear by video, use this link: https://www.zoomgov.com/ or to appear by telephone, call Zoom for
                                           Government at 1−669−254−5252 or 1−646−828−7666. Then enter the meeting ID 161 414 7941 and
                                           passcode 619.

                                           The Disclosure of Compensation has been filed. The attorney for the debtor is
                                           requesting fees of $ 4500.00
                                           Objections to confirmation of the Plan shall be filed at least 7 days prior to the confirmation
                                           hearing. If there are no objections, the Court may confirm the plan and allow fees requested
                                           by debtor's counsel to be paid through the plan.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy the plan, if not enclosed, will be sent to you later, and if the
                                           confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you
                                           believe that the law does not authorize an exemption that debtors claimed, you may file an objection by the
                                           deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                           If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                         page 2
                                                       Certificate of Notice Page 3 of 4
             Case 24-02132                 Doc 16           United
                                                         Filed      States Bankruptcy
                                                                02/21/24        Entered  Court
                                                                                             02/21/24 19:56:09                         Desc Main
                                                          Document           Page
                                                               Northern District       5 of 16
                                                                                 of Illinois
In re:                                                                                                                 Case No. 24-02132-DRC
Emma Judith Sanchez                                                                                                    Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Feb 16, 2024                                               Form ID: 309I                                                             Total Noticed: 20
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 18, 2024:
Recip ID                 Recipient Name and Address
db                     + Emma Judith Sanchez, 4521 Wenonah Ave, Forest View, IL 60402-4332
30664367               + Gabriel Sanchez, 4521 Wenonah Ave, Forest View, IL 60402-4332
30664375               + VW LAW LLC, 1755 Park St Suite 200, Naperville, IL 60563-8404

TOTAL: 3

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: vaughn@vaughnwhite.com
                                                                                        Feb 16 2024 22:53:00      Vaughn A White, Vw Law LLC, 1755 Park St,
                                                                                                                  Suite 200, Naperville, IL 60563
tr                     + Email/Text: bncnotice@chicagoch13.com
                                                                                        Feb 16 2024 22:53:00      Thomas H. Hooper, Office of the Chapter 13
                                                                                                                  Trustee, 55 E. Monroe St., Suite 3850, Chicago, IL
                                                                                                                  60603-5764
ust                    + Email/Text: USTPREGION11.ES.ECF@USDOJ.GOV
                                                                                        Feb 16 2024 22:54:00      Patrick S Layng, Office of the U.S. Trustee,
                                                                                                                  Region 11, 219 S Dearborn St, Room 873,
                                                                                                                  Chicago, IL 60604-2027
30664360               + EDI: CINGMIDLAND.COM
                                                                                        Feb 17 2024 03:38:00      AT&T, 2270 Lakeside Blvd, 700, Richardson, TX
                                                                                                                  75082-4304
30664361               + EDI: CAPITALONE.COM
                                                                                        Feb 17 2024 03:38:00      Capital One, PO Box 30285, Salt Lake City, UT
                                                                                                                  84130-0285
30664362               + EDI: WFNNB.COM
                                                                                        Feb 17 2024 03:38:00      Comenitycapital/lndclb, Attn: Bankruptcy, P.O.
                                                                                                                  Box 182125, Columbus, OH 43218-2125
30664363               + EDI: CITICORP
                                                                                        Feb 17 2024 03:38:00      Costco Citi Card, Attn: Bankruptcy, PO Box 6500,
                                                                                                                  Sioux Falls, SD 57117-6500
30664364               + Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Feb 16 2024 23:08:04      Credit One Bank, 6801 S Cimarron Rd, Las Vegas,
                                                                                                                  NV 89113-2273
30664365                  Email/Text: BKCourtNotices@yourmortgageonline.com
                                                                                        Feb 16 2024 22:54:00      Dmi/bmo Harris Bank Na, 1 Corporate Dr, Lake
                                                                                                                  Zurich, IL 60047
30664366               + Email/Text: collections@ftlfinance.com
                                                                                        Feb 16 2024 22:55:00      FTL Finance, Attn: Bankruptcy Attn: Bankruptcy,
                                                                                                                  820 S Main St , Ste 300, St Charles, MO
                                                                                                                  63301-3306
30664368                  Email/Text: GSBankElectronicBankruptcyNotice@gs.com
                                                                                        Feb 16 2024 22:54:00      Goldman Sachs Bank USA, Attn: Bankruptcy, PO
                                                                                                                  Box 70379, Philadelphia, PA 19176-0379
30664369               + EDI: LENDNGCLUB
                                                                                        Feb 17 2024 03:38:00      Lendclub Bnk, Attn: Bankruptcy Attn:
                                                                                                                  Bankruptcy, 595 Market Street , Suite 200, San
                                                                                                                  Francisco, CA 94105-2802
30664370                  Email/Text: bnc@nordstrom.com
                                                                                        Feb 16 2024 22:54:00      Nordstrom FSB, ATTN: Bankruptcy, PO Box
                                                                                                                  6555, Englewood, CO 80155-6555
30664371               + EDI: SYNC
                                                                                        Feb 17 2024 03:38:00      Synchrony Bank/Care Credit, Attn: Bankruptcy,
                                                                                                                  PO Box 965060, Orlando, FL 32896-5060
30664372               + EDI: SYNC
                                                    Certificate of Notice Page 4 of 4
District/off:Case
              0752-124-02132            Doc 16                User: admin Entered 02/21/24 19:56:09
                                                      Filed 02/21/24                                                                  Page 2 of 2
                                                                                                                                Desc Main
Date Rcvd: Feb 16, 2024                                Document         Page 6 of 16
                                                              Form ID: 309I                                                             Total Noticed: 20
                                                                                   Feb 17 2024 03:38:00     Synchrony Bank/Sams Club, Attn: Bankruptcy, Po
                                                                                                            Box 965060, Orlando, FL 32896-5060
30664373              + EDI: SYNC
                                                                                   Feb 17 2024 03:38:00     Synchrony Bank/TJX, Attn: Bankruptcy, PO Box
                                                                                                            965060, Orlando, FL 32896-5060
30664374              + Email/Text: TFS_Agency_Bankruptcy@toyota.com
                                                                                   Feb 16 2024 22:54:00     Toyota Financial Services, PO Box 259001, Plano,
                                                                                                            TX 75025-9001

TOTAL: 17


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 18, 2024                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 16, 2024 at the address(es) listed
below:
Name                             Email Address
Patrick S Layng
                                 USTPRegion11.ES.ECF@usdoj.gov

Thomas H. Hooper
                                 thomas.h.hooper@chicagoch13.com

Vaughn A White
                                 on behalf of Debtor 1 Emma Judith Sanchez vaughn@vaughnwhite.com
                                 vaughn@vaughnwhite.com;paralegal@vaughnwhite.com;VWLAWLLC@jubileebk.net


TOTAL: 3
        Case 24-02132        Doc 16  Filed 02/21/24 Entered 02/21/24 19:56:09               Desc Main
Form 13-9 (20210826)                  Document       Page 7 of 16
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )        Case             24-02132
Emma Sanchez                                  )        Number:
                                              )              Chapter:    13
                                              )
                                              )                          Honorable Timothy A. Barnes
                                              )
               Debtor(s)                )
 ATTORNEY'S APPLICATION FOR CHAPTER 13 COMPENSATION UNDER
        THE COURT-APPROVED RETENTION AGREEMENT
              (Use for cases filed on or after April 20, 2015)

The undersigned attorney seeks compensation pursuant to 11 U.S.C. § 330(a)(4)(B) and the Court-Approved
Retention Agreement executed by the debtor(s) and the attorney, for representing the interests of the debtor(s)
in this case.

   Use of Court-Approved Retention Agreement:

   The attorney and the debtor(s) have entered into the Court-Approved Retention Agreement.

   Attorney Certification:

   The attorney hereby certifies that:
   1. All disclosures required by Local Rule 2016-1 have been made.

   2. The attorney and the debtor(s) have either:

    (i) not entered into any other agreements that provide for the attorney to receive:

    a. any kind of compensation, reimbursement, or other payment, or

    b. any form of, or security for, compensation, reimbursement, or other payment that varies from the Court-
                       Approved Retention Agreement; or

    (ii) have specifically discussed and understand that:

    a. the Bankruptcy Code may require a debtor's attorney to provide the debtor with certain documents and
                      agreements at the start of the representation;

    b. the terms of the Court-Approved Retention Agreement take the place of any conflicting provision in an
                       earlier agreement;

    c. the Court-Approved Retention Agreement cannot be modified in any way by other agreements; and

    d. any provision of another agreement between the debtor and the attorney that conflicts with the Court-
                      Approved Retention Agreement is void.
      Case 24-02132 Doc 16 Filed 02/21/24 Entered 02/21/24 19:56:09 Desc Main
     Form 13-9 (20210826)             Document       Page 8 of 16
Compensation sought for services in this case pursuant to the Court-Approved Retention Agreement:
  $4500       flat fee for services through case closing

Reimbursement sought for expenses in this case:
  $313     for filing fee paid by the attorney with the attorney's funds
  $62         for other expenses incurred in connection with the case and paid by the attorney with
              the attorney's funds (itemization must be attached)

  $375         Total reimbursement requested for expenses.

Funds previously paid to the attorney by or on behalf of the debtor(s) in the year before filing this case
and not reflected in or related to the Court-Approved Retention Agreement:
      None
    A total of $ 4875     .




Date of Application: 02/21/2024               Attorney Signature /s/ Vaughn White
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                                        EXPENSES



    Emma Sanchez

    Case No.        24-02132



    Credit Report                        $37.00

    Postage and Copying                  $25.00



    TOTAL                                $62.00
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               Case 24-02132 Doc
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                                         02/21/24 Entered
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                                    Document     Page 10
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                                                         of 75
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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Northern District of Illinois

In re        Sanchez, Emma Judith

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      13


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        ✔ FLAT FEE
        ❑
        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $4,500.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $1,500.00

        Balance Due ................................................................................................................................................      $3,000.00


        ❑ RETAINER
        For legal services, I have agreed to accept and received a retainer of ............................................................................................................................

        The undersigned shall bill against the retainer at an hourly rate of ..................................................................................................................................
        [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved fees and
        expenses exceeding the amount of the retainer.

2.                   $0.00                  of the filing fee has been paid.

3.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
5.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

6.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;




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B2030 (Form 2030) (12/15)


      b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

      c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

7.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                               CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                         02/15/2024                                               /s/ Vaughn White
                Date                                          Vaughn White
                                                              Signature of Attorney
                                                                                               Bar Number: 6198291
                                                                                                       VW LAW LLC
                                                                                              1755 Park St Suite 200
                                                                                                Naperville, IL 60563
                                                                                              Phone: (312) 888-0131

                                                                                   VW LAW LLC
                                                              Name of law firm




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